         Case 8:22-bk-12142-SC Doc 199 Filed 07/22/23 Entered 07/22/23 21:16:23                                                                     Desc
                             Imaged Certificate of Notice Page 1 of 6
                                                              United States Bankruptcy Court
                                                               Central District of California
In re:                                                                                                                 Case No. 22-12142-SC
2nd Chance Investment Group, LLC                                                                                       Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0973-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Jul 20, 2023                                               Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jul 22, 2023:
Recip ID                 Recipient Name and Address
db                     + 2nd Chance Investment Group, LLC, 600 W. Santa Ana Blvd., PMB 5045, Santa Ana, CA 92701-4558

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
intp             *+            2nd Chance Investment Group, LLC, 600 W. Santa Ana Blvd., PMB 5045, Santa Ana, CA 92701-4558

TOTAL: 0 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jul 22, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on July 20, 2023 at the address(es) listed below:
Name                               Email Address
Amanda G. Billyard
                                   on behalf of Debtor 2nd Chance Investment Group LLC abillyard@bwlawcenter.com

Andy C Warshaw
                                   on behalf of Debtor 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
                                   warshaw.andyb110606@notify.bestcase.com

Andy C Warshaw
                                   on behalf of Defendant 2nd Chance Investment Group LLC awarshaw@bwlawcenter.com,
                                   warshaw.andyb110606@notify.bestcase.com

Arvind Nath Rawal
                                   on behalf of Creditor Ally Bank c/o AIS Portfolio Services, LLC arawal@aisinfo.com
         Case 8:22-bk-12142-SC Doc 199 Filed 07/22/23 Entered 07/22/23 21:16:23                                                               Desc
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Date Rcvd: Jul 20, 2023                                        Form ID: pdf042                                                             Total Noticed: 1
Brandon J Iskander
                            on behalf of Interested Party Goe Forsythe & Hodges LLP biskander@goeforlaw.com kmurphy@goeforlaw.com

Charity J Manee
                            on behalf of Interested Party Goe Forsythe & Hodges LLP cmanee@goeforlaw.com kmurphy@goeforlaw.com

Cheryl A Skigin
                            on behalf of Creditor Ally Bank caskigin@earthlink.net caskigin@earthlink.net

Christopher P. Walker
                            on behalf of Interested Party Salvador Jimenez cwalker@cpwalkerlaw.com
                            lhines@cpwalkerlaw.com;r57253@notify.bestcase.com

Christopher P. Walker
                            on behalf of Creditor Salvador Jimenez cwalker@cpwalkerlaw.com lhines@cpwalkerlaw.com;r57253@notify.bestcase.com

Dane W Exnowski
                            on behalf of Interested Party Courtesy NEF dane.exnowski@mccalla.com bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com

Dane W Exnowski
                            on behalf of Creditor Forethought Life Insurance Company dane.exnowski@mccalla.com
                            bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com

Daniel J Griffin
                            on behalf of Plaintiff Maher Abou Khzam daniel@thebklawoffice.com
                            tclayton@thebklawoffice.com;daniel@thebklawoffice.com

David M Goodrich
                            on behalf of Debtor 2nd Chance Investment Group LLC dgoodrich@go2.law,
                            kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com

David M Goodrich
                            on behalf of Interested Party Interested Party dgoodrich@go2.law
                            kadele@wgllp.com;lbracken@wgllp.com;wggllp@ecf.courtdrive.com;gestrada@wgllp.com

Douglas A Plazak
                            on behalf of Creditor Ram Bhakta dplazak@rhlaw.com

Douglas A Plazak
                            on behalf of Attorney Douglas A. Plazak dplazak@rhlaw.com

Douglas A Plazak
                            on behalf of Creditor Sajan Bhakta dplazak@rhlaw.com

Fanny Zhang Wan
                            on behalf of Creditor U.S. BANK TRUST NATIONAL ASSOCIATION NOT IN ITS INDIVIDUAL CAPACITY BUT
                            SOLELY AS OWNER TRUSTEE FOR VRMTG ASSET TRUST fwan@raslg.com

Fanny Zhang Wan
                            on behalf of Interested Party U.S. Bank Trust National Association not in its individual capacity but solely as owner trustee for
                            VRMTG Asset Trust fwan@raslg.com

Gary B Rudolph
                            on behalf of Creditor Lantzman Investments Inc. rudolph@sullivanhill.com,
                            bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com

Gary B Rudolph
                            on behalf of Creditor LMF2 LP rudolph@sullivanhill.com,
                            bkstaff@sullivanhill.com;vidovich@ecf.inforuptcy.com;rudolph@ecf.courtdrive.com;james@ecf.courtdrive.com

Jennifer C Wong
                            on behalf of Interested Party Courtesy NEF bknotice@mccarthyholthus.com jwong@ecf.courtdrive.com

Jennifer C Wong
                            on behalf of Creditor Wells Fargo Bank N.A. bknotice@mccarthyholthus.com, jwong@ecf.courtdrive.com

Kathleen A Cashman-Kramer
                            on behalf of Creditor LMF2 LP cashman-kramer@sullivanhill.com, theresam@psdslaw.com

Kathleen A Cashman-Kramer
                            on behalf of Creditor Lantzman Investments Inc. cashman-kramer@sullivanhill.com, theresam@psdslaw.com

Lazaro E Fernandez
                            on behalf of Interested Party Courtesy NEF lef17@pacbell.net
                            lef-sam@pacbell.net;lef-mari@pacbell.net;OfficeLR74738@notify.bestcase.com;lefkarina@gmail.com

Queenie K Ng
                            on behalf of U.S. Trustee United States Trustee (SA) queenie.k.ng@usdoj.gov

Randall P Mroczynski
                            on behalf of Creditor Mercedes-Benz Financial Services USA LLC randym@cookseylaw.com

Richard L. Sturdevant
         Case 8:22-bk-12142-SC Doc 199 Filed 07/22/23 Entered 07/22/23 21:16:23                                                 Desc
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Date Rcvd: Jul 20, 2023                                      Form ID: pdf042                                                   Total Noticed: 1
                             on behalf of Defendant 2nd Chance Investment Group LLC rich@bwlawcenter.com

Richard L. Sturdevant
                             on behalf of Debtor 2nd Chance Investment Group LLC rich@bwlawcenter.com

Robert P Goe
                             on behalf of Interested Party Goe Forsythe & Hodges LLP kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Robert P Goe
                             on behalf of Creditor Committee Official Committee of Unsecured Creditors kmurphy@goeforlaw.com
                             rgoe@goeforlaw.com;goeforecf@gmail.com

Stephan M Brown
                             on behalf of Interested Party Courtesy NEF ECF@thebklawoffice.com
                             stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com

Stephan M Brown
                             on behalf of Interested Party Maher Abou Khzam ECF@thebklawoffice.com
                             stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com

Stephan M Brown
                             on behalf of Plaintiff Maher Abou Khzam ECF@thebklawoffice.com
                             stephan@thebklawoffice.com;roslyn@thebklawoffice.com;brown.stephanb125317@notify.bestcase.com

United States Trustee (SA)
                             ustpregion16.sa.ecf@usdoj.gov


TOTAL: 36
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 1
     Andy C. Warshaw SBN No. 263880
 2   FINANCIAL RELIEF LAW CENTER, APC                                   FILED & ENTERED
     1200 Main St., Suite C
 3   Irvine, CA 92614
 4
     Direct Phone: (714) 442-3319                                             JUL 20 2023
     Facsimile: (714) 361-5380
 5   Email: awarshaw@bwlawcenter.com                                     CLERK U.S. BANKRUPTCY COURT
                                                                         Central District of California
                                                                         BY bolte      DEPUTY CLERK
 6   Attorneys for Debtor in Possession
 7
                                                                 CHANGES MADE BY COURT
 8
                                 UNITED STATES BANKRUPTCY COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION
10
      In Re
                                                         Case No.: 8:22-bk-12142-SC
11
      2ND CHANCE INVESTMENT GROUP,
      LLC,                                               Chapter 11
12

13             Debtor in Possession.                     CASE MANAGEMENT AND
                                                         SCHEDULING ORDER
14
                                                         Continued Status Conference
15                                                       Date: September 13, 2023
16
                                                         Time: 1:30 pm
                                                         Location: 411 W. Fourth St.
17                                                       Santa Ana, CA 92701-4593
                                                         Courtroom: 5C
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19
              On July 19, 2023, at 1:30 pm, the Court held hearings on the adequacy of the disclosure
20
     statement (Dk. 140), relief from stay relating to real property located at 37472 Yorkshire Drive,
21
     Palmdale, CA 93550 (Dk. 124), and a continued status conference. Andy C. Warshaw appeared on
22
     behalf of the Debtor in Possession, 2nd Chance Investment Group, LLC (the ³Debtor´). David M.
23

24
     Goodrich appeared as the Debtor¶s chief restructuring officer. Queenie Ng appeared on behalf of the

25   Office of the United States Trustee. Kathleen A. Cashman-Kramer appeared on behalf of Lantzman

26   Investments, Inc., and LMF2 LP. Nathan A. Berneman appeared on behalf of U.S. Bank Trust

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 1   National Association, not in its Individual Capacity but Solely as Owner Trustee for Vrmtg Asset
 2   Trust. Gil Hopenstand appeared on behalf of the U.S. Small Business Administration.
 3          The Court, having considered the disclosure statement, the motion for relief from stay, the
 4   case docket as a whole, the discussion of the parties appearing at the hearing, and findings of good
 5
     cause, the Court hereby orders as follows:
 6
            IT IS ORDERED that the following dates are hereby set with respect to scheduling in the
 7
     bankruptcy case:
 8
     1.     The deadline for 2nd Chance Investment Group LLC as the Debtor in Possession to file an
 9
     Amended Disclosure Statement is August 8, 2023.
10
     2.     The deadline for any party to file an objection or opposition to the Debtor¶s Amended
11
     Disclosure Statement is August 30, 2023.
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     3.     The deadline for the Debtor to file a reply brief to any opposition to the Debtor¶V$PHQGHG
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     Disclosure Statement is September 6, 2023.
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     4.     The Court will hold a continued status conference hearing and a hearing on the adequacy of
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     the Amended Disclosure Statement on September 13, 2023, at 1:30 p.m.
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     5.     The Debtor is required to file a status report for the September 13, 2023, hearings, which will
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     be due 14 days in advance.
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     6.     Appearances at the hearings scheduled for September 13, 2023, at 1:30 pm shall be made
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     consistent with the Court¶s Phone/Video Appearances tab on the Court¶s website located at

21   https://www.cacb.uscourts.gov/judges/honorable-scott-c-clarkson. Parties are to appear for hearings

22   remotely using the services of Zoom for GovHUQPHQW ³=RRPGov´ ZKLFKSHUPLWVUHPRWH

23   participation by video or by telephone. Hearing participants and members of the public may view and

24   listen to hearings before the Honorable Scott C. Clarkon using ZoomGov free of charge. Video and

25   audio connection information for each hearing will be provided on Judge Clarkson¶s publicly posted

26   hearing calendar, which can be viewed online at: http://ecfciao.cacb.uscourts.gov/CiaoPosted and
27   going WR³6HOHFW-XGJH´Scott C. Clarkson WRVHHWKH&RXUW¶V7HQWDWLYH5XOLQJV9LHZLQJ&DOHndar.
28

                                                     - 2 -
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 1   Individuals may appear by ZoomGov video and audio using a personal computer (equipped with
 2   camera, microphone and speaker), or a handheld mobile device. Individuals may participate by
 3   ZoomGov audio only using a telephone (standard telephone charges may apply). Neither a Zoom nor
 4   a ZoomGov account are necessary to participate, and no pre-registration is required.
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       Date: July 20, 2023
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